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  11
  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
  14                                    WESTERN DIVISION
  15
  16   JAN WILLEM HUBNER and ERIC             )   Case No. 15-2965
       RIBNER,                                )
  17                                          )   Complaint for Violation of the
                          Plaintiffs,         )   Federal Securities Laws and Breach
  18                                          )   of Fiduciary Duty
             v.                               )
  19                                          )
       ALLAN MAYER, DAVID                     )
  20   DANZIGER, ROBERT GREENE,               )
       MARVIN IGELMAN, WILLIAM                )
  21   MAUER, AND AMERICAN                    )
  22   APPAREL, INC.,                         )
                                              )
  23                      Defendants.         )
                                              )
  24                                          )
                                              )
  25
  26
  27
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   1         1.     Plaintiffs, for their Complaint for Violation of the Federal Securities
   2 Laws and common law breaches of fiduciary duty, allege upon personal knowledge
   3 as to their own acts, and otherwise upon information and belief based on the
   4 investigation made by and through their attorneys, which included, inter alia, a
   5 review of American Apparel, Inc.’s (“American Apparel” or the “Company”) April
   6 28, 2014 definitive proxy statement filed with the Securities and Exchange
   7 Commission (“SEC”) on Form DEF 14-A (the “Proxy Statement”), other SEC
   8 filings of American Apparel, news and internet reports, and interviews with
   9 witnesses with personal knowledge.         Plaintiffs believe that further substantial
  10 evidentiary support will exist to the allegations set forth below after opportunity for
  11 discovery.
  12                              NATURE OF THE ACTION
  13         2.     American Apparel is a Delaware corporation headquartered in Los
  14 Angeles.     As recognized by Delaware’s Court of Chancery, “[t]he shareholder
  15 franchise is the ideological underpinning upon which the legitimacy of directorial
  16 power rests.” Blasius Industries, Inc. v. Atlas Corp., Del. Ch., 564 A.2d 651, 659
  17 (1988). This case is about Directors who abused the underpinning upon which their
  18 directorial power rested.
  19         3.     Plaintiffs bring this action as record holders of American Apparel’s
  20 stock on April 21, 2014, the Proxy Statement’s record date (the “Record Date”), who
  21 were injured by Defendants’ solicitation of proxies via the Proxy Statement. In
  22 violation of Section 14(a) (“Section 14(a)”) of the Securities Exchange Act of 1934
  23 (the “Exchange Act”), 15 U.S.C. § 78n, Rule 14a-9 promulgated thereunder by the
  24 SEC, and the Individual Defendants’ fiduciary duty of disclosure/candor, the Proxy
  25 Statement contained material misrepresentations and/or omissions which caused
  26 injury to Plaintiffs and the other record holders as of the Record Date (the “Record
  27 Holder(s)”).
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   1        4.     As the Supreme Court held in finding a private right of action under
   2 Section 14(a):
   3                     The purpose of § 14(a) is to prevent management or
   4               others from obtaining authorization for corporate action by
   5               means of deceptive or inadequate disclosure in proxy
   6               solicitation. The section stemmed from the congressional
   7               belief that “fair corporate suffrage is an important right
   8               that should attach to every equity security bought on a
   9               public exchange.” H. R. Rep. No. 1383, 73d Cong., 2d
  10               Sess., 13. It was intended to “control the conditions under
  11               which proxies may be solicited with a view to preventing
  12               the recurrence of abuses which . . . [had] frustrated the free
  13               exercise of the voting rights of stockholders.”
  14 J.I. Case Co. v. Borak, 377 U.S. 426, 431 (1964).
  15        5.     American Apparel and the members of its Board of Directors (the
  16 “Board”), at all times relevant herein, had a duty to disseminate, in the Company’s
  17 proxy statements, accurate and truthful information and to correct any previously-
  18 issued statements that they learned were materially misleading or untrue, or had
  19 become, because of new information, materially misleading or untrue, so that fair
  20 corporate suffrage could be achieved.
  21        6.     Via the Proxy Statement, the Defendants solicited Plaintiffs’ and the
  22 Record Holders’ proxies for use at the Company’s June 18, 2014 Annual Meeting
  23 (the “Annual Meeting”) regarding the election of three directors, appointment of
  24 independent auditors, and executive compensation.
  25        7.     The misrepresentations and omissions contained in the Proxy Statement
  26 violated Section 14(a) and the Individual Defendants’ fiduciary duty of
  27 disclosure/candor in that the Defendants plainly said one thing (i.e. that Dov
  28 Charney (“Charney”) continuing to serve as Chairman and Chief Executive Officer

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   1 (“CEO”) following the election of directors was in the best interest of the Company;
   2 that Charney was intimately connected to American Apparel’s brand identity and
   3 was the principal driving force behind American Apparel’s core concepts and
   4 designs; and that Charney’s combined role promoted unified leadership and
   5 direction for the Board and executive management and allowed for a single, clear
   6 focus for the Company’s operational and strategic efforts) but did another (i.e.
   7 terminated Charney almost immediately upon the re-election of David Danziger
   8 (“Danziger”), Robert Greene (“Greene”) and Allan Mayer (“Mayer”)) to the Board,
   9 thereby depriving Plaintiffs and the Record Holders of: (i) knowledge of the
  10 Defendants’ real beliefs and intentions regarding Charney and his continued
  11 stewardship of the Company; (ii) their right to decide whether to leave the Company
  12 in Charney’s stewardship; and (iii) the opportunity to propose and/or vote for a
  13 competing slate of directors.      At no time did any Defendant dissent from or
  14 disassociate himself with the Proxy Statement’s description of Charney while, as
  15 discussed below, planning Charney’s ouster from the Company.
  16                            JURISDICTION AND VENUE
  17         8.    The claims asserted herein arise under and pursuant to Section 14(a) of
  18 the Exchange Act, 15 U.S.C. § 78n(a), and Rule 14a-9 promulgated thereunder by
  19 the SEC, 17 C.F.R. § 240.14a-9.
  20         9.    This Court has jurisdiction over the subject matter of this action
  21 pursuant to 28 U.S.C. §§ 1331 and 1367 and Section 27 of the Exchange Act, 15
  22 U.S.C. § 78aa.
  23         10.   Venue is proper in this District pursuant to Section 27 of the Exchange
  24 Act and 28 U.S.C. § 1391(b). Many of the acts charged herein, including the
  25 dissemination of materially false and misleading information, occurred in substantial
  26 part in this District.    Additionally, Defendant American Apparel maintains its
  27 headquarters and principal place of business within this District.
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   1                                        PARTIES
   2        11.    Plaintiff Jan Willem Hubner was a Record Holder of 39,254 shares of
   3 the Company’s common stock. Plaintiff Hubner voted his shares in reliance on the
   4 misrepresentations in the Proxy Statement.
   5        12.    Plaintiff Eric Ribner was a Record Holder of 3,000 shares of the
   6 Company’s common stock. Plaintiff Ribner voted his shares in reliance on the
   7 misrepresentations in the Proxy Statement.
   8        13.    Defendant American Apparel is vertically integrated clothing
   9 manufacturer, distributor and retailer with its headquarters located at 747 Warehouse
  10 Street, Los Angeles, California 90021. The Company was founded in 1989 by
  11 Charney, its former CEO and a former Chairman of the Board. American Apparel
  12 moved its manufacturing and business headquarters to Los Angeles in 1997. In
  13 2006, The New York Times reported that American Apparel’s 800,000 square-foot
  14 downtown Los Angeles manufacturing factory was the largest single garment
  15 factory in the United States. Under Charney, the Company typically paid its factory
  16 workers at a much higher rate than the minimum wage.
  17        14.    Defendant Mayer became a member of the Board on December 12,
  18 2007. Mayer, along with the other Defendants and non-defendants Charney and
  19 Alberto Chehebar (“Chehebar”), solicited Plaintiffs and the Record Holders’ proxies
  20 via the Proxy Statement. Among other things, the Proxy Statement requested that
  21 shareholders vote in favor of re-electing Mayer to the Board.           Despite the
  22 representations made in the Proxy Statement regarding, among other things,
  23 Charney’s importance to the Company, while actively soliciting proxies Defendant
  24 Mayer also assisted in planning the termination of Charney.
  25        15.    Defendant Danziger became member of the Board on June 24, 2011.
  26 Danziger, along with the other Defendants and non-defendants Charney and
  27 Chehebar, solicited Plaintiffs and the Record Holders’ proxies via the Proxy
  28 Statement. Among other things, the Proxy Statement requested that shareholders

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   1 vote in favor of re-electing Danziger to the Board. Despite the representations made
   2 in the Proxy Statement regarding, among other things, Charney’s importance to the
   3 Company, while actively soliciting proxies Defendant Danziger also assisted in
   4 planning the termination of Charney.
   5         16.   Defendant Greene became member of the Board on December 12,
   6 2007. Greene, along with the other Defendants and non-defendants Charney and
   7 Chehebar, solicited Plaintiffs and the Record Holders’ proxies via the Proxy
   8 Statement. Among other things, the Proxy Statement requested that shareholders
   9 vote in favor of re-electing Greene to the Board. Despite the representations made
  10 in the Proxy Statement regarding, among other things, Charney’s importance to the
  11 Company, while actively soliciting proxies Defendant Greene also assisted in
  12 planning the termination of Charney.
  13         17.   Defendant Marvin Igelman (“Igelman”) became member of the Board
  14 on June 24, 2011. Igelman, along with the other Defendants and non-defendants
  15 Charney and Chehebar, solicited Plaintiffs and the Record Holders’ proxies via the
  16 Proxy Statement.      Despite the representations made in the Proxy Statement
  17 regarding, among other things, Charney’s importance to the Company, while
  18 actively soliciting proxies Defendant Igelman also assisted in planning the
  19 termination of Charney.
  20         18.   Defendant William Mauer (“Mauer”) became member of the Board on
  21 November 28, 2011. Mauer, along with the other Defendants and non-defendants
  22 Charney and Chehebar, solicited Plaintiffs and the Record Holders’ proxies via the
  23 Proxy Statement.      Despite the representations made in the Proxy Statement
  24 regarding, among other things, Charney’s importance to the Company, while
  25 actively soliciting proxies Defendant Mauer also assisted in planning the termination
  26 of Charney.
  27         19.   Defendants Mayer, Danziger, Greene, Igelman, and Mauer are
  28 collectively referred to herein as the “Individual Defendants.” According to Proxy

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   1 Statement, it “is being made available to stockholders on or about April 28, 2014 in
   2 connection with the solicitation by the Board . . . for proxies for use at the 2014
   3 Annual Meeting of Stockholders.” As members of the Board, each of the Individual
   4 Defendants had a duty to disseminate an accurate and truthful Proxy Statement and
   5 to update the Proxy Statement as appropriate. Each of the Individual Defendants
   6 also had a duty to formally dissent and disassociate himself from the proxy
   7 solicitation if he did not believe the representations made therein were accurate.
   8         20.   Because of the Individual Defendants’ positions with American
   9 Apparel, they owed a fiduciary duty to Plaintiffs and the Record Holders and had a
  10 duty to be forthright in soliciting proxy votes.
  11         21.   The plain text of the Section 14(a) applies to “any person” that
  12 “permits[s] the use of his name to solicit any proxy.” Unless a director formally
  13 dissents and disassociates himself from the proxy solicitation, that director is
  14 considered to be soliciting proxies on behalf of management and is liable for
  15 misstatements contained in the proxy materials.
  16         22.   The Proxy Statement stated that it was “being made available to
  17 stockholders commencing on or about April 28, 2014 in connection with the
  18 solicitation by the Board[.]”
  19         23.   Charney is a non-defendant in this action. Charney informed Plaintiffs’
  20 counsel that he did not know that the Individual Defendants planned to terminate
  21 him immediately after the Annual Meeting despite the representations made in the
  22 Proxy Statement.      According to the Proxy Statement, during all times relevant
  23 herein, non-defendant Charney was the Company’s largest shareholder, owning
  24 more than 47.2 million shares, or 27%, of the Company’s outstanding common stock
  25 as of the Record Date.1         Among other things, the Proxy Statement stated that
  26
  27   1
      As discussed below, Charney’s 47.2 million shares represented almost 43% of the
  28 Company’s shares before his ownership interest was diluted by a secondary offering.

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   1 Charney “has informed the Company that he intends to vote in favor of the election
   2 of Messrs. Danziger, Greene and Mayer to the Board.” Charney informed Plaintiffs’
   3 counsel that had he known that the Individual Defendants planned to terminate him
   4 immediately after the Annual Meeting, he would have not voted in favor of Messrs.
   5 Danziger, Greene and Mayer’s re-election, but would have: (i) proposed a different
   6 slate of directors and voted in favor of those directors; or (ii) adjourned the meeting,
   7 as more fully described below.
   8         24.   Chehebar is a non-defendant in this action. Chehebar became a director
   9 of American Apparel on February 17, 2012, and at the time of the issuance of the
  10 Proxy Statement served as a member of the Nominating and Corporate Governance
  11 Committee of the Board. Plaintiffs are informed and believe that non-defendant
  12 Chehebar did not know that the Individual Defendants planned to terminate Charney
  13 immediately after the Annual Meeting despite the representations made in the Proxy
  14 Statement. Charney, who attended the meeting, informed Plaintiffs’ counsel that
  15 Chehebar did not vote in favor of terminating Charney.
  16                           SUBSTANTIVE ALLEGATIONS
  17 I.      THE PROXY SOLICITATION
  18         25.   The Proxy Statement, filed with the SEC and disseminated to
  19 shareholders on April 28, 2014, by Charney, Chehebar, and the Defendants, advised
  20 Plaintiffs and the Record Holders that “[t]he Nominating and Corporate Governance
  21 Committee and the Board of Directors each believes that Charney, as the founder of
  22 Old American Apparel (as defined under “Corporate Governance and Board
  23 Matters” below) and its predecessor companies and as Chairman and Chief
  24 Executive Officer of the Company since 2007 and President of the Company from
  25 2007 until October 2010, provides our Board with an informed perspective on the
  26 Company and the apparel industry and the perspectives and judgment necessary to
  27 guide the Company’s strategy and monitor its execution.”
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   1        26.   The Proxy Statement also advised shareholders that:
   2              Board Leadership Structure and Role in Risk
   3              Oversight
   4                    Dov Charney, who serves as both our Chief
   5              Executive Officer and Chairman of the Board, leads and
   6              provides strategic guidance to the Company’s management
   7              team, each of whom has experience in the apparel industry.
   8              American Apparel’s senior officers closely supervise all
   9              aspects of the Company’s business, in particular the design
  10              and production of merchandise, the operation of our stores
  11              and our financial reporting function. The Board of
  12              Directors has determined that the combination of these
  13              roles held singularly by Mr. Charney is in the best
  14              interests of all stockholders given that Mr. Charney
  15              founded the Company, is considered intimately connected
  16              to American Apparel’s brand identity and is the principal
  17              driving force behind American Apparel’s core concepts
  18              and designs. The Board believes that it is in the best
  19              interests of the Company for the Board to make a
  20              determination whether to combine or separate the roles
  21              based upon the circumstances. The Board has given
  22              careful consideration to separating the roles of Chairman
  23              of the Board and Chief Executive Officer and has
  24              determined that the Company and its stockholders are
  25              best served by the current structure. Mr. Charney’s
  26              combined role promotes unified leadership and direction
  27              for the Board and executive management and allows for
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   1              a single, clear focus for the Company’s operational and
   2              strategic efforts.
   3                    The combined role of Mr. Charney as both
   4              Chairman of the Board and Chief Executive Officer is
   5              balanced by the Company’s governance structure, policies
   6              and controls. Six of the seven members of our Board of
   7              Directors qualify as independent directors as defined under
   8              the applicable listing standards of the NYSE MKT. The
   9              Audit Committee, the Compensation Committee, and the
  10              Nominating and Corporate Governance Committee are
  11              each composed entirely of independent directors. The
  12              Board has designated Allan Mayer as the Company’s lead
  13              independent director. In his capacity as the lead
  14              independent director, Mr. Mayer is responsible for
  15              coordinating the activities of our independent directors;
  16              convening at meetings of the Board at which the Chairman
  17              of the Board is not present, including executive sessions of
  18              the independent directors; facilitating communications
  19              between Mr. Charney, as the Chairman of the Board and
  20              Chief Executive Officer, and other members of the Board;
  21              reviewing meeting agendas and schedules, as well as board
  22              materials, prior to board meetings; and consulting with the
  23              Chairman of the Board to assure that appropriate topics are
  24              being discussed with sufficient time allocated for each.
  25              The Board of Directors currently believes that this
  26              structure is in the best interest of the Company as it
  27              allows for a balance of power between the Chief
  28              Executive Officer and the independent directors and

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   1               provides an environment in which its independent
   2               directors are fully informed, have significant input into
   3               the content of Board meeting agendas, and are able to
   4               provide     objective     and      thoughtful    oversight   of
   5               management. The Board will continue to consider from
   6               time to time whether the Chairman of the Board and
   7               Chief     Executive     Officer    positions    should   remain
   8               combined based on what the Board believes is best for the
   9               Company and its stockholders.
  10 (emphasis added).2
  11         27.   The Proxy Statement also solicited and recommended shareholders
  12 vote, inter alia, to approve, on an advisory basis, the compensation of Charney and
  13 other named executive officers for the next year, and it informed shareholders that
  14 “[t]he Company and Dov Charney are parties to an employment agreement effective
  15 as of April 1, 2012, pursuant to which Mr. Charney will serve as the Company’s
  16 Chief Executive Officer for a term ending on March 31, 2015.”
  17         28.   The above material statements necessarily remained “alive” in the
  18 minds of investors as a continuing representation because the representations
  19 remained available online, as part of the 2014 Annual Meeting materials (as defined
  20 in the Proxy Statement), and because the Proxy Statement was a “solicitation [ ]
  21 made via the Internet on behalf of the Board of Directors” for which a “phone or
  22 Internet vote” received by 7:00 p.m., Eastern Time, on June 17, 2014, would give
  23 the named proxies the authority to vote shareholders’ shares.
  24   2
        The Board’s statements were not unique. Jeff Macke of Yahoo! Finance
  25 recognized that “without Dov Charney there is no American Apparel, and there
  26 certainly are not those [thousands of] manufacturing jobs, and they certainly are not
     in Southern California where it’s very expensive to do business.”
  27 finance.yahoo.com/news/dov-charney-responds-after-american-apparel-dismissal-
  28 191559801.html (video, starting at 1:44).

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   1        29.    The proxy statements issued in conjunction with the annual meetings
   2 scheduled and held from 2010 through 2014, inclusive, included identical or
   3 substantially similar statements regarding Charney, his abilities, and his importance
   4 to the Company.
   5 II.    CONTEMPORANEOUS SEC FILINGS AND PUBLIC REPORTS
   6        30.    While proxies were being solicited, American Apparel’s Form 10-Q
   7 filed with the SEC on its May 12, 2014 (the “1Q14 10-Q”) disclosed that:
   8                     The Company has previously disclosed arbitrations
   9               filed by the Company on or about February 17, 2011,
  10               related to cases filed in the Supreme Court of New York,
  11               County of Kings (Case No. 5018-1) and Superior Court of
  12               the State of California for the County of Los Angeles
  13               (Case Nos. BC457920 and BC460331) against American
  14               Apparel, Dov Charney and certain members of the Board
  15               of Directors asserting claims of sexual harassment, assault
  16               and   battery,   impersonation    through    the   internet,
  17               defamation and other related claims. The Company settled
  18               one of these cases with no monetary liability to the
  19               Company. In another case, the Company prevailed on its
  20               argument that certain claims had been released by the
  21               plaintiff, and the remaining claims were recently settled.
  22               In another case, the arbitrator rejected the Company’s
  23               argument that certain claims had been released, and a
  24               hearing will be held in the future on the merits of the
  25               parties’ claims. In another case, the arbitrator ruled that
  26               both American Apparel and the plaintiff had established
  27               certain claims and damages against one another resulting
  28               in a net inconsequential amount awarded to the plaintiff,

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   1              and the arbitrator is considering a request to award
   2              attorneys’ fees and costs to the plaintiff. The Company is
   3              awaiting the arbitrator’s ruling on the outstanding
   4              attorney’s fees and cost issue in this case. In a different
   5              case, the arbitrator has held an evidentiary hearing on the
   6              parties’ respective claims and the Company is waiting for
   7              the arbitrator’s ruling.   The Company cannot provide
   8              assurance that, the amount and ultimate liability, if any,
   9              with respect to these remaining cases will not materially
  10              affect the Company’s business, financial position, results
  11              of operations, or cash flows.
  12                                               ***
  13                    We have previously disclosed arbitrations filed by
  14              us on or about February 17, 2011, related to cases filed in
  15              the Supreme Court of New York, County of Kings (Case
  16              No. 5018-1) and Superior Court of the State of California
  17              for the County of Los Angeles (Case Nos. BC457920 and
  18              BC460331) against us, Dov Charney and certain members
  19              of the Board of Directors asserting claims of sexual
  20              harassment, assault and battery, impersonation through the
  21              internet, defamation and other related claims. We settled
  22              one of these cases with no monetary liability to us. In
  23              another case, we prevailed on our argument that certain
  24              claims had been released by the plaintiff, and the
  25              remaining claims were recently settled. In another case,
  26              the arbitrator rejected our argument that certain claims had
  27              been released, and a hearing will be held in the future on
  28              the merits of the parties’ claims.     In another case, the

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   1               arbitrator ruled that both we and the plaintiff had
   2               established certain claims and damages against one another
   3               resulting in a net inconsequential amount awarded to the
   4               plaintiff, and the arbitrator is considering a request to
   5               award attorneys’ fees and costs to the plaintiff. We are
   6               awaiting the arbitrator’s ruling on the outstanding
   7               attorney’s fees and cost issue in this case. In a different
   8               case, the arbitrator has held an evidentiary hearing on the
   9               parties’ respective claims and we are waiting for the
  10               arbitrator’s ruling. We cannot provide assurance that, the
  11               amount and ultimate liability, if any, with respect to these
  12               remaining cases will not materially affect our business,
  13               financial position, results of operations, or cash flows.
  14         31.   The 1Q14 10-Q also reaffirmed that there were no material changes to
  15 the risk factors reported in the Company’s March 5, 2013 Form 10-K. The 10-K
  16 stated, in part:
  17                     In particular, we believe we have benefited
  18               substantially from the leadership and strategic guidance of
  19               Dov Charney. The loss of Dov Charney would be
  20               particularly harmful as he is considered intimately
  21               connected to our brand identity and is the principal driving
  22               force behind our core concepts, designs and growth
  23               strategy.
  24         32.   American Apparel’s Form 10-Q filed with the SEC on its August 18,
  25 2014 (the “2Q14 10-Q”) disclosed that the only apparent change to the above-quoted
  26 language in Paragraph 29, since the filing of the 1Q14 10-Q, was that: the Company
  27 separated itself from Charney; the arbitrator who was considering a request to award
  28 attorneys’ fees and costs to the plaintiff decided to do so; and the Company was in a

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   1 dispute about those fees and costs with its insurer.3 Thus there is no reason to
   2 believe that anything requiring disclosure to shareholders with respect to Charney’s
   3 behavior came to the Board’s attention between May 12, 2014, and August 18, 2014.
   4   3
       A comparison of a paragraph of the 2Q14 10-Q with the paragraph quoted
   5 immediately above shows all of the changes made, with stricken through text
     representing deletions and underlined text representing additions:
   6
   7                     We haveThe Company has previously disclosed
                  arbitrations filed by usthe Company on or about February
   8              17, 2011, related to cases filed in the Supreme Court of
   9              New York, County of Kings (Case No. 5018-1) and
                  Superior Court of the State of California for the County of
  10              Los Angeles (Case Nos. BC457920 and BC460331)
  11              against us, DovAmerican Apparel, Mr. Charney and
                  certain members of the Board of Directors asserting claims
  12              of sexual harassment, assault and battery, impersonation
  13              through the internet, defamation and other related claims.
                  WeThe Company settled one of these cases with no
  14              monetary liability to us. the Company. In another case,
  15              wethe Company prevailed on ourits argument that certain
                  claims had been released by the plaintiff, and the
  16              remaining claims were recently settled. In another case, the
  17              arbitrator rejected ourthe Company’s argument that certain
                  claims had been released, and a hearing will be held in the
  18              future on the merits of the parties’ claims. In another case,
  19              the arbitrator ruled that both weAmerican Apparel and the
                  plaintiff had established certain claims and damages
  20              against one another resulting in a net inconsequential
  21              amount awarded to the plaintiff, and in June 2014, the
                  arbitrator is considering a request to award
  22              attorneys’awarded attorneys’ fees and costs to the plaintiff.
  23              We The Company and its insurance carrier are
                  awaitingcurrently in dispute about insurance coverage of
  24
                  the arbitrator’s ruling on the outstanding attorney’s fees
  25              and cost issue in this case. costs. In a different case, the
                  arbitrator has held an evidentiary hearing on the parties’
  26
                  respective claims and we arethe Company is waiting for
  27              the arbitrator’s ruling. We The Company cannot provide
                  assurance that, the amount and ultimate liability, if any,
  28
                  with respect to these remaining cases will not materially
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   1         33.   Similarly, no arguably relevant media reports are available through
   2 Lexis suggesting that any wrongdoing by Charney came to light in the interim
   3 period between the Record Date and June 17, 2014, with the possible exception of
   4 an article published in Styleite on May 9, 2014, which discussed how “[a] supposed
   5 American Apparel retail worker wrote an intentionally meandering piece for
   6 ADULT magazine that acknowledged rumors suggesting sexual harassment lawsuits
   7 filed against American Apparel Chairman and CEO Dov Charney are money-
   8 making schemes he himself orchestrates” for Company publicity. The substance of
   9 that article was presumably not the cause for Charney’s termination, at least based
  10 upon the content of the June 18, 2014 Termination Letter (defined below).
  11 Moreover, that article was public before the issuance of the 1Q14 10-Q.
  12         34.   Rather than disclosing any information to shareholders so that
  13 shareholders could make an informed decision in their proxy voting, and rather than
  14 correct, dissent from, or disassociate from the solicitations of the Proxy Statements,
  15 the Defendants continued to solicit votes upon misinformation.
  16 III.    THE IMMEDIATE, CONFLICTING, FIRING OF DOV CHARNEY
  17         35.   While there do not appear to be public minutes or a transcript of the
  18 Annual Meeting or subsequent events available through either the Company’s
  19 website or some other disclosure, according to reports from The New York Times4 it
  20 appears that the Annual Meeting lasted less than an hour and that:
  21                     On Wednesday, just after the company’s annual
  22               meeting, Mr. Charney sat in a conference room at the
  23               Times Square offices of the company’s outside counsel,
  24
                   affect ourthe Company’s business, financial position,
  25
                   results of operations, or cash flows.
  26   4
      An article entitled “American Apparel Ousts Its Founder Over Posting of Worker’s
  27 Nude Photos” was published on June 22, 2014 (the “June 22 NYT article”). See
  28 http://nyti.ms/1pprWs9.

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   1              Skadden, Arps, Slate, Meagher & Flom, and was fired by
   2              the board. Under the terms of his contract, Mr. Charney
   3              will be suspended immediately and formally terminated
   4              after 30 days. The directors also voted to remove him as
   5              chairman. Mr. Charney still owns 27 percent of the
   6              company’s stock.
   7                    A person with direct knowledge of the meeting said
   8              that Mr. Charney was shocked and that the meeting lasted
   9              more than nine hours.
  10        36.   Similarly, The Wall Street Journal5 reported that:
  11                    It wasn’t long after Dov Charney showed up at
  12              American Apparel Inc.’s board meeting this week that he
  13              learned he was there to be fired.
  14                    The controversial CEO and founder of the casual-
  15              clothes retailer had weathered years of lawsuits that
  16              alleged sexual harassment and abusive behavior in
  17              painfully explicit terms. But he reached the end after a
  18              group of directors troubled by his responses to some of the
  19              suits began to doubt his trustworthiness, a person familiar
  20              with the decision said.
  21                    The board gathered at noon in a small conference
  22              room at the Times Square offices of Skadden, Arps, Slate,
  23              Meagher & Flom LLP, the company’s legal counsel.
  24              Shortly after it ended 10 hours later, directors announced
  25              in a news release that they had voted to remove Mr.
  26
  27   5
      An article entitled “Inside the American Apparel Revolt” was published on June
  28 20, 2014. See http://on.wsj.com/1w64Exu.

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   1                 Charney as chairman and to fire him as president and CEO
   2                 for cause, a decision that grew out of “an ongoing
   3                 investigation into alleged misconduct.”
   4                       Now, a battle is likely at the top of a company,
   5                 which made a mark on popular culture with its affordable
   6                 fashions and sexually themed marketing. Mr. Charney is
   7                 the largest individual shareholder, with about 27% of
   8                 American Apparel’s stock, according to S&P Capital IQ.
   9                 He doesn’t intend to sell it, said a person familiar with the
  10                 matter.
  11           37.   A subsequent New York Post article of June 28, 2014,6 reported that:
  12                       Last week, five of American Apparel’s seven
  13                 directors voted to suspend Charney as CEO and strip him
  14                 of his chairman role.
  15                       Just minutes earlier, three of the five who voted
  16                 against Charney had been re-elected to three-year terms at
  17                 the company’s annual shareholder meeting.
  18           38.   Charney informed Plaintiffs’ counsel that later during the Board
  19 meeting (the “June 18 Board Meeting”) held immediately after the Annual Meeting,
  20 defendant Mayer presented Charney with two options concerning Charney’s
  21 continuing role with the Company. The first option provided that Charney would
  22 resign as CEO and Chairman of the Board, and be required to sign over the voting
  23 rights of his 47.2 million shares to the Board. In exchange, Charney would be paid a
  24 $4.5 million severance package and repositioned as a paid creative director at a rate
  25 of $500 per hour. The Board would also issue a “positive” press release regarding
  26
  27
       6
  28       See http://nyp.st/1yXkPNZ.

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   1 Charney’s resignation. To accept this option, the Board informed Charney that he
   2 would need to do so immediately.
   3         39.   According to Charney, the Termination Letter was the second option
   4 presented to him at the June 18 Board Meeting.
   5         40.   Charney’s representation of the facts in the two preceding paragraphs is
   6 confirmed by the June 22, 2014 NYT article. Two sources with knowledge told the
   7 The New York Times that “[t]he board offered Mr. Charney the opportunity to
   8 remain at the company as a consultant in a creative role, so long as he resigned as
   9 chief executive,” and that “a news release had already been written that mentioned
  10 an amicable, voluntary parting.” The article further reports that Charney “was told
  11 he had to make his decision that day. If he stayed on, he would be paid about $4
  12 million[.] If he refused to step down, he was told he would be fired. Mr. Charney
  13 refused.”
  14         41.   Charney also informed Plaintiffs’ counsel that at the June 18 Board
  15 Meeting Defendant Danziger informed him the Board “need[ed] to reposition the
  16 company.” According to Charney, defendant Greene told him that “[t]he allegations
  17 [in the Termination Letter] are not important. The point is we want to take a
  18 different course.”    These statements by defendants Danziger and Greene are
  19 irreconcilable with the Proxy Statements’ solicitations, including but not limited to
  20 that the Board “has determined that the combination of these roles [of CEO and
  21 Chairman] held singularly by Mr. Charney is in the best interests of all stockholders
  22 given that Mr. Charney founded the Company, is considered intimately connected to
  23 American Apparel’s brand identity and is the principal driving force behind
  24 American Apparel’s core concepts and designs.”
  25         42.   On June 22, 2014, BuzzFeed disclosed the contents of Charney’s June
  26 18, 2014 Termination Letter (the “Termination Letter”) in full.7 The Termination
  27   7
            www.buzzfeed.com/sapna/exclusive-read-ousted-american-apparel-ceo-dov-
  28 charneys-term.

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   1 Letter claimed, in part, the Charney had “willfully and continuously failed to
   2 substantially perform [his] job duties under the Employment Agreement and . . .
   3 engaged in willful misconduct that has materially injured the financial condition and
   4 business reputation of the Company.” The Termination Letter detailed Charney’s
   5 allegedly wrongful conduct. Plaintiffs are informed and believe that of the allegedly
   6 wrongful conduct detailed therein was known to the Defendants on the Record Date.
   7         43.   The actions described in Paragraph 68, infra, including that the
   8 Termination Letter was delivered to Charney within minutes of the Annual
   9 Meeting’s conclusion, are conclusive evidence that the Individual Defendants, or at
  10 least a majority of them, misleadingly solicited proxies.
  11         44.   The same BuzzFeed article reported that “[t]he board, for its part, told
  12 BuzzFeed on Friday that it learned of new information this spring that spurred an
  13 investigation, ultimately resulting in its decision to oust Charney.”
  14         45.   As to what that “new information” was, and when in the Spring it was
  15 learned, the June 22 NYT article reported that:
  16                      The company’s board learned early this year that
  17               Mr. Charney had known of an employee’s plans to publish
  18               naked photographs of a former American Apparel worker,
  19               Irene Morales, on the Internet. While Mr. Charney did not
  20               publish the photographs himself, he did not try to stop
  21               them from being published, said the person with
  22               knowledge of the investigation, who spoke on condition of
  23               anonymity because of the sensitive nature of Mr.
  24               Charney’s dismissal. Ms. Morales sued Mr. Charney in
  25               2011, claiming he had forced her to perform sexual acts
  26               over a period of several months. He claimed that the
  27               photos showed that she had pursued him.
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   1                        In March, after learning that Mr. Charney was aware
   2                  of plans to publish the photographs, the board decided to
   3                  conduct an investigation into his behavior.
   4                        The investigation, led by the law firm Jones Day,
   5                  also found that Mr. Charney had used the retailer’s
   6                  resources for his personal use. According to the
   7                  investigation, he arranged flights for his parents with
   8                  company money, and he and his friends used company
   9                  apartments while not on official business.
  10           46.    Further as to what that “new information” was, and when in the Spring
  11 it was learned, The New York Post reported that:8
  12                        “It was the right thing to do”: So said Allan Mayer,
  13                  director and interim co-chairman of American Apparel,
  14                  about founder Dov Charney’s dismissal for cause, citing an
  15                  “ongoing investigation into alleged misconduct.”
  16                        But whatever the details of Charney’s latest
  17                  shenanigans, there can be no doubt that corporate
  18                  management has long been aware of its top executive’s
  19                  bad behavior. His discharge had little if anything to do
  20                  with the company’s supposed integrity.
  21                                                ***
  22                        If doing the “right thing” figured into AA’s
  23                  corporate decision-making, why did the board permit
  24                  Charney to linger for so long? Or did his dismissal finally
  25                  come only because the bottom line simply demanded it?
  26
  27
       8
  28       See http://nyp.st/V3tDTd.

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   1                    “We take no joy in this,” Mayer said of Charney’s
   2              sacking. I beg to differ. After all, the board’s move is
   3              expected to attract a throng of suitors eager to snatch up
   4              the label. And the day after Charney was let go, AA stock
   5              prices surged nearly 20 percent in early trading, and kept
   6              rising Friday.
   7                    Whether or not Charney stays on in some consulting
   8              capacity after the company is sold, AA will forever be
   9              tainted by the man who made it.
  10                    “People love the brand, and they hate him,” one
  11              banker report[ed]ly said of Charney’s firing. But you can’t
  12              separate the man from the brand, and the facts demonstrate
  13              that company man-agement never really sought to, despite
  14              the firm’s Wednesday night assertion that AA had grown
  15              “larger than any one individual.”
  16        47.   However, as later reported by The New York Times on June 26, 2014:9
  17                    According to a person with knowledge of the
  18              board’s deliberations, in March, board members received
  19              an update on the company’s legal proceedings that
  20              contained an unusual tidbit: a ruling.
  21                    An arbitrator had found Mr. Charney guilty of
  22              defamation for failing to stop the publication of naked
  23              photographs of a former employee, Irene Morales, who
  24              had sued him for sexual harassment. But the arbitrator
  25              ruled against her on the original harassment claims,
  26
  27   9
      See http://www.nytimes.com/2014/06/27/business/road-to-dov-charneys-ouster-at-
  28 american-apparel.html (the “June 26 NYT Article”).

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   1               according to the person familiar with the proceedings. Ms.
   2               Morales was eventually awarded about $700,000.
   3                       With this information in hand, the board called its
   4               outside counsel, Jones Day, and taking care not to tip off
   5               Mr. Charney or anybody who would feel compelled to
   6               inform him, it began to investigate — often by discreetly
   7               calling company employees themselves.
   8        48.    The Proxy Statement was issued to shareholders and filed with the SEC
   9 on April 28, 2015. The first reason provided in the Termination Letter for Charney’s
  10 firing was that he breached his fiduciary duty owed to the Company because he was
  11 “aware of, but took no steps to prevent an employee under your direct supervision
  12 and control from creating and maintaining false, defamatory and impersonating blog
  13 posts about former American Apparel employees.” As revealed in the June 26 NYT
  14 Article, the Individual Defendants knew about this first allegation at least a month
  15 prior to the issuance of the Proxy Statement, supporting Plaintiffs’ claim that the
  16 Individual Defendants made their false and misleading statements to retain control
  17 of the Company. As the Company disclosed in its June 18, 2014 Form 8-K (the
  18 “June 18 Form 8-K”), the firing of Charney implicated its credit agreements. That
  19 8-K stated in part:
  20                       The Company may be deemed to have triggered an
  21               event of default under the Credit Agreement, dated as of
  22               May 22, 2013, among the Company and Lion/Hollywood
  23               L.L.C. (the “Lion Facility”). Under the terms of the Lion
  24               Facility, in the event that Mr. Charney ceases to be the
  25               Company’s Chief Executive Officer, an event of default
  26               occurs and the lenders may declare outstanding obligations
  27               to be immediately due and payable. An event of default
  28               under the Lion Facility would also trigger an event of

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   1              default under the Credit Agreement, dated as of April 4,
   2              2013, among the Company and Capital One Business
   3              Credit Corp. (the “Capital One Facility”). We are in the
   4              process of notifying Lion and Capital One of Mr.
   5              Charney’s suspension and are seeking a waiver of such
   6              event of default. There can be no assurance that that the
   7              requested relief will be granted on terms acceptable to us
   8              or at all. Unless we are able to secure a waiver, the lenders
   9              under the Lion Facility and the Capital One Facility are
  10              entitled to, among other things, accelerate the outstanding
  11              amounts under the facility. Any such acceleration under
  12              our credit facilities would have a material adverse effect on
  13              our liquidity, financial condition and results of operations,
  14              and could cause us to become bankrupt or insolvent.
  15        49.   Exhibit 99.1 to the June 18 Form 8-K stated in relevant part that:
  16              American Apparel Board Suspends Dov Charney as CEO
  17              and Declares Intent to Terminate Him for Cause; Names
  18              John Luttrell as Interim CEO Allan Mayer and David
  19              Danziger Elected Co-Chairmen of Board
  20                    LOS ANGELES, June 18, 2014 -- The Board of
  21              Directors of American Apparel, Inc. (NYSE MKT: APP)
  22              today voted to replace Dov Charney as Chairman and
  23              notified him of its intent to terminate his employment as
  24              President and CEO for cause. It is expected that the
  25              termination will be effective following a 30-day cure
  26              period required under the terms of Mr. Charney’s
  27              employment agreement.
  28

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   1                    The Board suspended Mr. Charney from his
   2              positions as President and CEO, effective immediately,
   3              pending the expiration of the cure period. At the same
   4              time, the Board appointed John Luttrell as Interim Chief
   5              Executive Officer. Mr. Luttrell, who has been with
   6              American Apparel since February 2011 and currently
   7              serves as Executive Vice President and Chief Financial
   8              Officer, will continue in those positions as well. Prior to
   9              joining American Apparel, Mr. Luttrell served as
  10              Executive Vice President and Chief Financial Officer of
  11              Old Navy, The Wet Seal and Cost Plus.
  12                    Also effective immediately, the Board appointed
  13              Allan Mayer and David Danziger as Co-Chairmen to
  14              replace Mr. Charney as Chairman of the Board. In
  15              accordance with the terms of his employment agreement,
  16              the Board intends to request Mr. Charney’s resignation as
  17              a member of the Board concurrently with the effective
  18              time of his termination.
  19                    Mr. Mayer, who has been a member of the Board
  20              since the company went public in 2007 and has served as
  21              its lead independent director for the past three years, said
  22              the Board’s decision to replace Mr. Charney grew out of
  23              an ongoing investigation into alleged misconduct.
  24                    “We take no joy in this, but the Board felt it was the
  25              right thing to do,” Mr. Mayer said. “Dov Charney created
  26              American Apparel, but the Company has grown much
  27              larger than any one individual and we are confident that its
  28              greatest days are still ahead.”

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   1                     “The Board is working with a search firm to identify
   2               candidates for the job of permanent CEO and, based on our
   3               initial discussions with the search firm, we expect the list
   4               of possible successors will be impressive,” said Mr.
   5               Danziger, who has chaired the Board’s Audit Committee
   6               since 2011.
   7                     “We have one of the best known and most relevant
   8               brands in the world, with employees who are second to
   9               none; I believe we have a very exciting future,” said Mr.
  10               Luttrell. “Our core business-designing, manufacturing, and
  11               selling American-made branded apparel-is strong and
  12               continues to demonstrate great potential for growth, both
  13               in the U.S. and abroad. This new chapter in the American
  14               Apparel story will be the most exciting one yet.”
  15                     Mr. Luttrell said American Apparel would remain
  16               committed      to   its   sweatshop-free,   Made    in   USA
  17               manufacturing philosophy.
  18                     As a result of the management changes, the
  19               Company may have been deemed to have triggered an
  20               event of default under its credit agreements and will be in
  21               discussions with its lenders for a waiver of the default.
  22               Additional details are provided in the Company’s Form 8-
  23               K filing with the Securities and Exchange Commission,
  24               dated June 18, 2014.
  25         50.   Reconciling Mayer’s statement that, “We take no joy in this, but the
  26 Board felt it was the right thing to do” with his and the Board’s statement, alive 17
  27 hours beforehand, that in the Proxy Statement that the Board “has determined that
  28 the combination [of chairman and CEO being] held singularly by Mr. Charney is in

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   1 the best interests of all stockholders given that Mr. Charney founded the Company,
   2 is considered intimately connected to American Apparel’s brand identity and is the
   3 principal driving force behind American Apparel’s core concepts and designs”
   4 appears impossible. Charney’s alleged misdeeds are beside the point for these proxy
   5 fraud claims. Shareholders should have been given a voice with regards to the
   6 Company’s direction, and the solicitation materials disseminated by the Defendants
   7 were materially misleading.
   8         51.   Moreover,    the   questionable   timing   of   Charney’s    termination,
   9 immediately after the shareholder vote, further suggests that the Defendants knew
  10 that if they did not issue the materially false and misleading proxy Charney and
  11 other shareholders would propose a competing slate of directors and defeat
  12 Danziger, Greene and Mayer, taking control away of the Company from the
  13 Individual Defendants.
  14         52.   The Proxy Statement stated, in part, that “[y]ou are entitled to notice of
  15 and to vote at the Annual Meeting and any adjournment or postponement thereof
  16 only if you were a holder of record of shares of American Apparel, Inc. common
  17 stock as of the close of business on April 21, 2014.”               (emphasis added)
  18 Additionally, as noted by In re MONY Group Inc. S’holder Litig., 853 A.2d 661
  19 (Del. Ch. 2004), “when shares trade in the market, they generally trade without a
  20 proxy, so that the person acquiring the shares does not obtain the right to vote those
  21 shares on the merger. Instead, the power to vote remains with the seller who was the
  22 record date holder.” Id. at 669. Shareholders who held stock as of the Record Date
  23 thus maintain the right to vote upon the matters brought up at the Annual Meeting,
  24 but with the benefit of accurate information to ensure they are not disenfranchised.
  25 IV.     THE INDIVIDUAL DEFENDANTS PLANNED THEIR SECRET
  26         DECISION TO FIRE CHARNEY VERY CAREFULLY
  27         53.   While Defendants’ reasons for issuing materially false and misleading
  28 proxy statements are irrelevant to Plaintiffs’ Section 14(a) or breach of fiduciary

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   1 duty of disclosure/candor claims, Plaintiffs are informed and believe that the
   2 Individual Defendants removed Charney as CEO and Chairman of the Board in
   3 order to sell the Company, a decision to which Charney informed Plaintiffs’ counsel
   4 that he would absolutely not agree. As a result, Defendants first diluted Charney’s
   5 voting power and then issued the materially false and misleading Proxy.
   6         54.   Charney informed Plaintiffs’ counsel that prior to the issuance of the
   7 Proxy Statement he had been dissatisfied with Chief Financial Officer (“CFO”)
   8 Luttrell’s performance.       Accordingly, in January 2014 Charney met with the
   9 advisory firm Alvarez & Marsal to explore replacing Luttrell as the Company’s
  10 CFO.
  11         55.   Charney also informed Plaintiffs’ counsel that, after his suspension, he
  12 learned that on January 14, 2014, CFO Luttrell had a meeting with two investment
  13 bankers from Peter J. Solomon during a finance conference in Orlando, Florida at
  14 the Ritz Carlton. Marc Cooper, one of the investment bankers for Peter J. Solomon,
  15 advised Luttrell and the General Counsel for the Company that “American Apparel
  16 could be sold, but not with Dov Charney in the way.”
  17         56.   Charney informed Plaintiffs’ counsel that he had one discussion about a
  18 takeover with Mr. Luttrell.       Luttrell called Charney one morning in or around
  19 February 2014 and asked if Charney would ever consider taking $100 million for his
  20 stake in the company. Charney responded to Luttrell that he had no intention of
  21 selling the company.
  22         57.   Charney also informed Plaintiffs’ counsel that he learned, after his
  23 suspension, that Luttrell:
  24         (a)   Began, in February 2014, to intensify his solicitation of the Board
  25               through secret phone calls and meetings;
  26         (b)   Had written a document in February 2014 entitled “Notes to David
  27               Danziger” which contained the following plan: “Remove CEO and
  28

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   1               replace with an interim replacement. Put the Company up for sale.
   2               Engage Peter Solomon”;
   3        (c)    Slowly started influencing the Individual Defendants by advancing
   4               story that Charney was “incapable of managing a $700 million
   5               business,” and that the Company’s only option was to sell;
   6        (d)    Secretly met with Board members, out of town and without Charney’s
   7               knowledge, to discuss the potential sale of the Company.
   8        58.    According to a Form NT-10K filed with the SEC on March 18, 2014,
   9 the Company disclosed, inter alia, that it was:
  10                     [A]ctively pursuing several possible financing
  11               alternatives as a means to increase the Company’s
  12               available cash to fund debt service requirements and
  13               operational needs. Also, as previously disclosed, the
  14               Company is engaged in discussions with Capital One
  15               Business Credit Corp. (fka Capital One Leverage Finance
  16               Corp.) [(the, “Bondholders”)] with respect to a waiver of
  17               the Company’s noncompliance with, and event of default
  18               resulting from such noncompliance with, certain financial
  19               maintenance covenants under its credit facility with
  20               Capital One Business Credit Corp. (the “Capital One
  21               Credit Facility”) for the fourth quarter of 2013 and an
  22               amendment to the Capital One Credit Facility that would
  23               reset such covenants going forward.
  24        59.    Confidential Witness 1 (“CW1”) is a former board member of the
  25 Company, a Record Holder, and a current shareholder. CW1 has advised Plaintiffs’
  26 counsel that a representative of the Bondholders called him prior to the
  27 announcement of the equity offering, to inform him that the Company’s CFO and
  28 the Company’s financial advisor were not responding to a proposal made by the

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   1 Bondholders that would prevent an impending default arising from the Company’s
   2 inability to make its scheduled April 15, 2014 interest payment. The representative
   3 explained to CW1 that the Bondholders were willing to negotiate and mentioned
   4 they would be interested to speak directly to the Company’s CEO and largest
   5 shareholder, Charney, since the Company’s CFO and financial advisor had gone
   6 “radio silent.”
   7         60.   Soon after this conversation, CW1 called Charney to relay to him that
   8 the Bondholders seemed willing to negotiate and urged him to speak with the
   9 Bondholders’ representative. Charney said to CW1 that the Company’s CFO and
  10 financial advisor were handling the situation.
  11         61.   About a week later, on March 26, 2014, the Company announced that it
  12 had completed an equity offering of 61 million common shares at $0.50 per share.
  13 Following this announcement, the representative of the Bondholders and CW1 spoke
  14 again. Both were very surprised that the Company had decided to execute a
  15 financing that diluted common shareholders so significantly. The Company’s bonds
  16 had last traded at a price of $80.00 on March 24, 2014, prior to the announcement of
  17 the offering, and last traded at $89.25 on March 26, 2014, the day after the
  18 announcement, representing an increase of over 11%.          At the same time, the
  19 Company’s stock price dropped from $0.75 to $0.51, a decline of over 30%. The
  20 representative of the Bondholders expressed amazement that the Company’s CFO
  21 and financial advisor would pursue such a dilutive equity offering and not negotiate
  22 when the Bondholders were willing to enter into a transaction that would have been
  23 much less onerous to common shareholders.
  24         62.   CW1 spoke again with Charney, and expressed his disappointment that
  25 the Company had decided on the dilutive equity offering instead of negotiating with
  26 Bondholders to find a different solution. Charney told CW1 that he was not happy
  27 with the equity offering either, and would have preferred a different transaction, but
  28 he had been strongly urged by the Company’s CFO that the equity offering was the

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   1 only feasible alternative given time constraints. Charney also told CW1 that the
   2 Board members obtained his approval to move forward with the equity offering by
   3 promising to structure an “earnout” arrangement which would allow him to be
   4 rewarded with additional shares based upon the attainment of performance goals,
   5 which would negate the dilution he suffered by agreeing to move forward with the
   6 equity offering.
   7         63.   Charney has confirmed CW1’s representations and informed Plaintiffs’
   8 counsel that it was Defendant Mayer who convinced him that the Board would grant
   9 him an equity earnout package. Charney informed Plaintiffs’ counsel that Defendant
  10 Mayer asked experts to help explore ways for Charney to regain his percentage
  11 control of the Company. Charney anticipated the subject of his equity earnout
  12 package would be discussed during the June 18 Board Meeting.
  13         64.   Plaintiffs are informed and believe that the Individual Defendants
  14 issued the shares in order to substantially dilute Charney’s ownership interest in, and
  15 therefore control of, the Company. Pursuant to a July 5, 2013 Schedule 13D/A,
  16 prior to the March 2014 secondary offering Charney beneficially owned 47,209,406
  17 shares of Common Stock or 42.8% of American Apparel’s outstanding shares. As
  18 noted above, as of the Record Date, as a result of the dilution, Charney only owned
  19 27.2% of the Company’s outstanding shares although he still held the same
  20 47,209,406 shares of Common Stock.
  21         65.   Further supporting Plaintiffs’ information and belief that the Individual
  22 Defendants initiated the secondary offering to dilute Charney’s ownership interest in
  23 the Company is that the offering was completed at or about the time the Board
  24 decided to conduct an investigation into Charney’s behavior per the June 22 NYT
  25 article quoted herein.
  26         66.   But for the dilution, Charney could have easily removed each of the
  27 Individual Defendants with the assistance of the owners of just over 7% of the
  28 Company’s outstanding stock.        As outlined below, Plaintiffs are informed and

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   1 believe that Charney had the support of the Company’s third largest shareholder
   2 which had a 13% ownership interest. The Bylaws10 then stated, in relevant part:
   3                      3.8    Removal of Directors by Stockholders. The
   4               entire Board of Directors or any individual Director may
   5               be removed from office with or without cause by a
   6               majority vote of the holders of the outstanding shares then
   7               entitled to vote at an election of directors. In case the
   8               Board of Directors or any one or more Directors be so
   9               removed, new Directors may be elected at the same time
  10               for the unexpired portion of the full term of the Director or
  11               Directors so removed.
  12         67.   Tellingly, immediately after the Annual Meeting at which three of the
  13 Individual Defendants were re-elected to the Board, Charney was told he could
  14 either resign and turn over voting control of his shares to the Individual Defendants
  15 or be terminated. Charney refused to resign and Luttrell was made interim CEO, as
  16 outlined herein.
  17         68.   Between 7 p.m. on June 17th, when the solicitation of proxies ended,
  18 and 11 a.m. on June 18th, when the Annual Meeting began, it is evident that the
  19 Individual Defendants could not have: (a) negotiated a deal with an interim CEO;
  20 (b) began working and had multiple discussions with a search firm to identify
  21 candidates for the job of permanent CEO; (c) been aware of the possible creditor
  22 implications of Charney’s firing; (d) resolved who would be the new co-chairmen of
  23 the board: (e) presented Charney with a draft “positive” press release regarding
  24 Charney’s resignation and a continued consulting agreement (which release
  25 Defendants were prepared to issue and file with the SEC that day); and (f) drafted a
  26 detailed five page termination letter.
  27
       10
         The Company’s operative Bylaws filed with the SEC on November 9, 2007, as
  28
       Exhibit 3.1 (the “Bylaws”) to an 8-K.
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   1 V.         SHAREHOLDER SUPPORT FOR CHARNEY
   2            69.   If Defendants had not solicited Plaintiffs and the Record Holders’
   3 proxies via the Proxy Statement it is more probable than not that Charney, with the
   4 assistance of other shareholders, would have initiated a successful proxy battle for
   5 the three Board seats occupied by Danziger, Greene and Mayer. With his vote, the
   6 vote of Chehebar, and the three seats that would have been elected but for the Proxy
   7 Statement being misleading, Charney could not have been abruptly terminated.
   8 Alternatively, Charney would likely have been reappointed to his CEO position by a
   9 new slate of directors if the Individual Defendants had fired Charney prior to the
  10 Annual Meeting.
  11            70.   After Charney’s termination, The Wall Street Journal quoted Minho
  12 Roth, the Founding Partner of FiveT Capital, American Apparel’s third-largest
  13 shareholder as of the Record Date with a stake of approximately 22 million, or 13%,
  14 of the Company’s outstanding common shares, as stating “I wonder about the timing
  15 of this because I think Dov, my impression is, he did a pretty good job turning
  16 around the company. If they wanted to oust him why didn’t they do it last year or
  17 two years ago?”
  18            71.   Another long term shareholder, Michael Bigger, who owned more than
  19 3.27 million shares of American Apparel during the relevant period, has since
  20 tweeted that he remained, as of April 1, 2015, “ready to fund Dov Charney with
  21 proper management team to start another [American Apparel]” and that Charney is a
  22 “Branding genius [but he] could change [his] opinion if guilty in a court of law.”11
  23
  24 ///
  25 ///
  26 ///
  27
       11
  28        See http://stocktwits.com/biggercapital/message/34861080.

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   1 VI.       THE LIKELIHOOD OF A PROXY BATTLE AND/OR AN
   2           ADJOURNMENT OF THE ANNUAL MEETING WITHOUT THE
   3           MATERIALLY FALSE AND MISLEADING STATEMENTS
   4           72.    The statements of Roth and Bigger, along with their ownership interests
   5 in the Company, make it more probable than not, that had the Individual Defendants
   6 disclosed their plans to terminate Charney after the Annual Meeting, that if. Charney
   7 proposed a competing slate of directors, Individual Defendants Danziger, Greene
   8 and Mayer would not have been re-elected to the Board and none of the
   9 subsequently adopted Board measures discussed below would have been effectuated.
  10           73.    Under the terms of Bylaws, on the issue of voting for members of the
  11 Board, “[a]t all meetings of stockholders for the election of directors, a plurality of
  12 the votes cast shall be sufficient to elect. Each stockholder represented at a meeting
  13 of stockholders shall be entitled to cast one vote for each share of the capital stock
  14 entitled to vote thereat held by such stockholder[.]” As recognized by the SEC: “[a]
  15 ‘plurality vote’ means that the winning candidate only needs to get more votes than a
  16 competing candidate. If a director runs unopposed, he or she only needs one vote to
  17 be elected, so an ‘against’ vote is meaningless.”12
  18           74.    Under the Bylaws, or alternatively under Delaware law because of
  19 material changes affecting the Proxy Statement at a date later than the Bylaws
  20 allowed, Charney or any other common shareholder could have properly brought
  21 business before the Annual Meeting by providing written notice to the American
  22 Apparel’s Secretary of the Corporation at its executive offices.
  23           75.    Because the Defendants supported Charney in the Proxy Statement,
  24 through the use of the materially false and misleading statements, no other
  25 shareholder, including Messrs. Charney, Roth and/or Bigger, proposed a competing
  26 slate of directors.      As a result, the Defendants were ensured that Defendants
  27
       12
  28        See https://www.sec.gov/spotlight/proxymatters/voting_mechanics.shtml.

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   1 Danziger, Greene and Mayer would be re-elected and the Individual Defendants
   2 would control the Board and could terminate Charney.
   3        76.    If, on the other hand, the Defendants had not solicited proxies from
   4 Plaintiffs and the Record Holders via a proxy statement containing material
   5 misrepresentations and/or omissions, it is more probable than not that a competing
   6 slate of directors would have been proposed and that competing slate would have
   7 received more votes than Defendants Danziger, Greene and Mayer. According to an
   8 8-K filed with the SEC on June 23, 2014 (the “June 23 10-K), Danziger, Greene and
   9 Mayer received more than 62 million, 64 million, and 64 million votes, respectively.
  10 As of the Record Date, Charney, Roth and Bigger collectively owned more than 72
  11 million outstanding shares. Pursuant to the Company’s Bylaws, without even the
  12 voting support of any other shareholders, Charney, Roth and Bigger, who each
  13 supported Charney’s role at the Company, could have easily voted in a competing
  14 slate of candidates in place of Danziger, Greene and Mayer.
  15        77.    Accordingly, to ensure their control of the Company, the Individual
  16 Defendants waited until after the materially misleading disclosures had effectively
  17 disenfranchised shareholders to terminate Charney. Any revote should thus not be
  18 burdened with any of the subsequently adopted protective measures which, but for
  19 the misrepresentations in the Proxy Statement, would never have come into
  20 existence.
  21        78.    If Charney had learned of the Board’s intent to terminate him, but
  22 without sufficient time to propose a competing slate of directors, Charney informed
  23 Plaintiffs’ counsel that he would have adjourned the meeting.
  24        79.    The Bylaws provide, in relevant part:
  25               Quorum. The holders of a majority of the capital stock
  26               issued and outstanding and entitled to vote thereat, present
  27               in person or represented by proxy, shall constitute a
  28               quorum at all meetings of the stockholders for the

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   1               transaction of business except as otherwise provided by
   2               statute or by the Certificate of Incorporation. If, however,
   3               such quorum shall not be present or represented at any
   4               meeting of the stockholders, the holders of a majority of
   5               the votes entitled to be cast by the stockholders entitled to
   6               vote thereat, present in person or represented by proxy,
   7               shall have power to adjourn the meeting from time to time,
   8               without notice other than announcement at the meeting,
   9               until a quorum shall be present or represented.
  10         80.   As noted above, there were 173,497,302 outstanding shares as of the
  11 Record Date. To have a quorum under the Bylaws, 86,748,652 voting shares needed
  12 to be present at the Annual Meeting. The June 23 8-K provides that there were
  13 109,342,474 shares voted at the meeting.           That amount included Charney’s
  14 47,209,406 shares. If Charney had known of the Individual Defendants’ intention to
  15 immediately terminate him after the vote, Charney would have adjourned the
  16 meeting by removing his shares from the vote, leaving only 62,133,068 voting
  17 shares and ensuring that there was a not a quorum present at the meeting.
  18         81.   Charney’s actions subsequent to the June 18 Board Meeting support
  19 Plaintiffs’ allegations that without the Defendants’ false and misleading statements a
  20 proxy battle and/or the adjournment of the Annual Meeting would have occurred.
  21 As the Company disclosed in its June 30, 2014 Form 8-K (the “June 30 Form 8-K”):
  22                     On June 27, 2014, the Company received a request
  23               from Mr. Charney purporting to call a special meeting of
  24               the Company’s stockholders. Mr. Charney states that the
  25               purpose of the special meeting will be (i) to amend the
  26               Bylaws of the Corporation (the “Bylaws”) to fix the
  27               number of directors serving on the Board at 15 directors,
  28               (ii) to amend the Bylaws to provide that vacancies on the

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   1               Board created pursuant to actions taken at the special
   2               meeting may be filled with individuals identified in a
   3               proxy statement filed with the United Stated Securities and
   4               Exchange Commission without having to comply with any
   5               of the procedural requirements set forth in the Bylaws, (iii)
   6               to elect certain individuals to fill vacancies on the Board
   7               and (iv) to repeal any amendments to the Bylaws enacted
   8               subsequent to October 1, 2010 and prior to the adoption of
   9               the foregoing proposals at the special meeting.          The
  10               Company believes that Mr. Charney’s request is invalid
  11               and improper, among other reasons, due to the fact that
  12               Mr. Charney previously has been suspended as CEO and
  13               relieved of all powers to act on behalf of the Company,
  14               and the Committee’s belief that the purpose of such
  15               request is to further Mr. Charney’s own self-interest. As a
  16               result, the Company does not intend to comply with such
  17               request to call a special meeting and intends to vigorously
  18               contest any action seeking to compel the Company to do
  19               so.
  20 VII. THE INDIVIDUAL DEFENDANTS TAKE STEPS TO FURTHER
  21         ENSURE CHARNEY’S OUTSIDER STATUS
  22         82.   The Board’s actions subsequent to the June 18 Board Meeting support
  23 Plaintiffs’ allegations that the Defendants solicited the Record Holders’ proxies with
  24 false and misleading information in order to control the Company.
  25         83.   As also disclosed in the June 30 Form 8-K:
  26                     On June 28, 2014, the Board approved and adopted
  27               Amended and Restated Bylaws of the Company (the
  28               “Amended Bylaws”). The Amended Bylaws were effective

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   1              immediately upon approval by the Board. The following
   2              changes are included in the Amended Bylaws:
   3                    • The advance notice period for the submission of
   4              director nominations and stockholder proposals to be made
   5              at an annual meeting of stockholders is amended to 120-
   6              150 days before the anniversary date of the annual meeting
   7              from 60-90 days prior to the annual meeting. The advance
   8              notice period reopens if the annual meeting is called for a
   9              date that is more than 25 days before or after the
  10              anniversary date of the annual meeting. The Amended
  11              Bylaws expand the disclosure requirements and require
  12              additional representations for stockholders who propose
  13              business or make nominations and require additional
  14              disclosures regarding and representations by proposed
  15              director nominees.
  16                    •    Before taking action by written consent,
  17              stockholders must provide notice to the Board requesting
  18              the establishment of a record date to determine the
  19              stockholders entitled to take such action. The Board has
  20              10 days following a stockholder request for a record date
  21              to adopt a resolution to set such record date, after which
  22              the Board has an additional 10 days to set the record date.
  23              The Amended Bylaws include disclosure requirements for
  24              stockholders proposing to take action by written consent,
  25              including, among other things, disclosing the text of the
  26              proposal and the disclosures required for stockholders who
  27              submit director nominations and stockholder proposals to
  28              be made at an annual meeting of stockholders.

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   1                      • The Amended Bylaws remove the ability of the
   2              Chief    Executive    Officer,    President,    Chairman    or
   3              stockholders to call a special meeting.
   4                      • The Amended Bylaws clarified that directors may
   5              only be removed “for cause” (which is statutorily required
   6              for Delaware companies with a staggered Board of
   7              Directors).
   8                      • The Amended Bylaws remove the restriction on
   9              committees of the Board of Directors from having the
  10              power or authority of the Board of Directors with respect
  11              to amending the Certificate of Incorporation of the
  12              Company.
  13                      The foregoing description of the Amended Bylaws
  14              is qualified in its entirety by reference to the Amended
  15              Bylaws, a copy of which is attached hereto as Exhibit 3.2
  16              and is incorporated herein by reference.
  17        84.   The June 30 Form 8-K further disclosed that the Company had adopted
  18 a poison pill.
  19        85.   As the Company disclosed in its July 9, 2014 Form 8-K:
  20                      On July 9, 2014, American Apparel, Inc. (the
  21              “Company”) entered into a Nomination, Standstill and
  22              Support Agreement (the “Support Agreement”) with
  23              Standard General L.P. (“SG”), Standard General Master
  24              Fund L.P., P Standard General Ltd. and Dov Charney
  25              (collectively, the “Standard General Group”). The Support
  26              Agreement relates to, among other things, the composition
  27              of the Company’s Board of Directors (the “Board”), the
  28              provision by SG of financial support to the Company in an

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   1              aggregate amount up to $25 million, and the creation of a
   2              special committee of the Board to oversee the continuing
   3              investigation into alleged misconduct by Dov Charney (the
   4              “Investigation”). The Standard General Group also agreed
   5              to certain standstill and voting limitations and SG affirmed
   6              its commitment to the Company’s core values, including
   7              the Company’s sweatshop-free, “Made in the USA”
   8              manufacturing philosophy and maintaining the Company’s
   9              manufacturing headquarters in Los Angeles, California.
  10                    Board Matters. The Support Agreement provides
  11              that five of the seven current members of the Board will
  12              resign effective ten (10) days following the Company’s
  13              filing of an Information Statement on Schedule 14f-1 with
  14              the   Securities   and    Exchange     Commission       (the
  15              “Information Statement”).        Allan Mayer and David
  16              Danziger will remain as independent directors and Co-
  17              Chairman of the Board.            Immediately after such
  18              resignations, Messrs. Mayer and Danziger will appoint the
  19              following individuals to fill the vacancies on the Board:
  20              one individual designated by SG to the Company to serve
  21              as a Class A director of the Company (the “Class A
  22              Designee”), two other individuals designated by SG to the
  23              Company to serve as Class B directors of the Company
  24              (the “Class B Designees” and, together with the Class A
  25              Designee, the “Standard General Designees”) and two
  26              other individuals mutually agreed between SG and the
  27              Company to serve as Class C directors of the Company
  28

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   1              (the “Joint Designees” and together with the Standard
   2              General Designees, the “New Board Designees”).
   3                    Each of the New Board Designees (other than the
   4              Class A Designee) is expected (i) to qualify an
   5              independent director under the rules of the NYSE MKT
   6              LLC, (ii) not to be affiliated with or have any material
   7              relationship with SG and (iii) not to be affiliated with or
   8              have any material relationship with Mr. Charney.           In
   9              addition, Mr. Charney will not serve as a Board member or
  10              be nominated by the Company or SG as a Board member.
  11                    Pursuant to the Support Agreement, the Company
  12              will prepare and file with the Securities and Exchange
  13              Commission,     and    thereafter   mail,   the   Information
  14              Statement for the purpose of notifying its stockholders of
  15              the above-referenced change in the majority of the Board
  16              and other aspects of the Support Agreement.
  17                    Investigation.     The Support Agreement provides
  18              that the Company will form a new committee of
  19              independent directors (the “Suitability Committee”) of the
  20              Board for the purpose of overseeing the Investigation. The
  21              Suitability Committee will consist of David Danziger, one
  22              Standard General Designee and one Joint Designee. Based
  23              on the findings of such Investigation, the Suitability
  24              Committee will determine if it is appropriate for Mr.
  25              Charney to be reinstated as CEO of the Company or serve
  26              as any officer or employee of the Company or any of its
  27              subsidiaries. Mr. Charney agrees in the Support Agreement
  28              not to interfere with or attempt to influence the outcome of

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   1              the Investigation, or access the Company’s computer
   2              systems. Until the Suitability Committee makes its final
   3              determination, Mr. Charney will be entitled to receive his
   4              base salary as a consultant to the Company and will have
   5              no supervisory authority over any employees of the
   6              Company.
   7                     Standstill.    Among other things, the Standard
   8              General Group agreed not to, until the completion of the
   9              2015 Annual Meeting of Stockholders, purchase or acquire
  10              any additional beneficial ownership of shares of the
  11              Company’s common stock (the “Common Stock”), solicit
  12              proxies or consents with respect to the Common Stock,
  13              form or join any group with respect to the Common Stock,
  14              present any proposal at a special meeting of stockholders
  15              or through action by written consent, seek the removal of
  16              any director or propose any nominee for election to the
  17              Board or grant any proxy or consent with respect to other
  18              matters. Furthermore, until the completion of the 2015
  19              Annual Meeting of Stockholders, the Standard General
  20              Group agreed not to effect or seek to effect any
  21              extraordinary corporate transaction, business combination,
  22              amendment to the Company’s governance documents or
  23              certain other activities.
  24                     Core Values.         SG shall publicly affirm its
  25              commitment in a press release to the Company’s
  26              sweatshop-free, “Made in the USA” manufacturing
  27              philosophy, maintaining the Company’s manufacturing
  28              headquarters in Los Angeles, California, and the

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   1              Company’s tradition of passion, creativity, contrarian
   2              thinking, social responsibility, ethical business practices
   3              and fair treatment of employees.
   4                    Other elements of the Support Agreement include:
   5                    • SG agrees to provide additional capital or other
   6              financial support to the Company in an aggregate amount
   7              up to $25 million (i) to the extent necessary to permit the
   8              Company to repay amounts due under the Credit
   9              Agreement, dated as of May 22, 2013, by and among the
  10              Company, the facility guarantors party thereto, and
  11              Lion/Hollywood L.L.C. (as amended) and amounts related
  12              thereto (or, if any such amounts previously have been
  13              repaid by the Company, replenishment of such amounts
  14              used to pay such amounts), and (ii) for any other purposes
  15              as the Board, following the director appointments
  16              referenced above, may determine are appropriate. Any
  17              such capital or financial support shall be provided on
  18              market terms reasonably agreed by SG and the Company
  19              unless SG accepts other terms.     SG and the Company
  20              agreed to work together reasonably and in good faith to
  21              structure the terms and conditions of the provision of such
  22              additional capital or other financial support as soon as
  23              practicable, and in such a manner as to comply with
  24              applicable NYSE MKT LLC rules and applicable legal
  25              requirements;
  26                    •    The Standard General Group agreed, until the
  27              completion of the 2015 Annual Meeting of Stockholders,
  28              that to the extent the Common Stock beneficially owned

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   1              by the Standard General Group and certain of its affiliates
   2              exceeds 33 1/3 percent of the outstanding Common Stock
   3              at any Annual or Special Meeting of Stockholders or any
   4              adjournments or postponements thereof, the Standard
   5              General Group shall cause any excess stock over such
   6              amount to be voted for any proposals or other business that
   7              comes before any such meeting in proportion to the votes
   8              for such proposals or other business cast by the other
   9              stockholders of the Company voting at such meeting;
  10                      • Mr. Charney irrevocably withdrew his letter dated
  11              June 27, 2014, providing notice to the Company of his call
  12              of a special meeting of stockholders on September 25,
  13              2014;
  14                      •    The Board agreed to amend and restate the
  15              Company’s Bylaws to the form adopted on October 1,
  16              2010, except that the size of the Board shall be fixed at
  17              nine directors;
  18                      • The Company shall use its reasonable best efforts
  19              to cause the election of each New Board Designee as a
  20              director of the Company at the 2015 Annual Meeting of
  21              Stockholders; and
  22                      • The parties agreed to certain mutual releases of
  23              claims.
  24                      The foregoing description of the Support Agreement
  25              does not purport to be complete and is qualified in its
  26              entirety by reference to the Support Agreement, which is
  27              attached hereto as Exhibit 10.1 and incorporated herein by
  28              reference.

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   1                    The information set forth under Item 3.03 of this
   2              Current Report on Form 8-K is incorporated into this Item
   3              1.01 by reference.
   4 VIII. A SHAREHOLDER REACTS TO ONGOING DEVELOPMENTS
   5        86.   A July 17, 2014 press release issued by Bigger Capital announced that
   6 the following letter had been delivered to American Apparel’s Board, stating, in
   7 relevant part:
   8                    The Bigger Capital Fund, LP, Bachelier, LLC and
   9              the Bigger Family are significant shareholders of
  10              American Apparel, Inc. (NYSE: APP) (“American
  11              Apparel” or the “Company”). We have followed the recent
  12              developments at American Apparel with a growing sense
  13              of puzzlement and concern. We have become confident
  14              that American Apparels’ entire Board of Directors (the
  15              “Discredited Board”) -- all seven of its current members --
  16              have caused serious damage to the value and reputation of
  17              the Company. American Apparel, a household institution
  18              with strong business fundamentals and great prospects has
  19              been brought to the brink of financial distress and all this,
  20              in our view, because of the reckless actions of the set of
  21              directors who were responsible for overseeing our business
  22              and protecting the value of our investment.
  23                    We are extremely gratified to see that five of the
  24              current seven directors will be replaced with new members
  25              of the Board under the recently disclosed arrangement
  26              dated July 9, 2014 with Standard General L.P. and certain
  27              of its affiliates and Dov Charney, now former CEO of
  28              American Apparel (collectively, the “Standard General

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   1              Group”). However, there can be no justification for the
   2              two remaining discredited incumbents, David Danziger
   3              and Allan Mayer, to stay on. We firmly believe that
   4              Messrs. Danziger and Mayer, who are supposed to remain
   5              as directors and Co-Chairmen of the Board, are directly
   6              responsible for the value erosion and reputational harm to
   7              the Company and as a result have lost the confidence and
   8              support of the shareholders and should immediately resign.
   9                    The Discredited Board has taken a number of
  10              reckless actions that go directly against the best interest of
  11              shareholders. Most shockingly, this Board engaged in an
  12              apparent coup stealthily and abruptly ousting American
  13              Apparel’s long-standing CEO and largest shareholder
  14              knowing that their actions will cause a near-imminent
  15              default under important contractual obligations of the
  16              Company and cause it to default on nearly $10 million in
  17              loans. Worse, the Discredited Board kept shareholders
  18              entirely in the dark about its plans to change the effective
  19              control    of     our   company.   The   Discredited   Board
  20              calculatedly waited until shareholders (including Mr.
  21              Charney with his then approximately 23% [sic] stake) had
  22              cast their votes to reelect them at the annual meeting on
  23              June 18 and then quickly reconvened just minutes after the
  24              closing of the polls and voted to oust Mr. Charney from his
  25              position as a CEO (and imminently under the terms of his
  26              employment agreement as a director of the Company, a
  27              position to which the shareholders of American Apparel
  28              had elected him on June 25, 2013). Messrs. Danziger and

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   1              Mayer had fiduciary duties to do what is best for us, the
   2              owners of the Company. Messrs. Danziger and Mayer are
   3              bound not only by their responsibilities as our fiduciaries,
   4              but also by the proxy rules to inform shareholders of all
   5              information that shareholders may consider material to
   6              their voting decision prior to casting their vote. It is
   7              mindboggling that Messrs. Danziger and Mayer would not
   8              have thought that shareholders would want to know of
   9              their plans to uproot the senior leadership of our Company
  10              before voting on the election of directors. In our view,
  11              Messrs. Danziger and Mayer have breached their fiduciary
  12              duties to shareholders and withheld material information
  13              that should have been disclosed in the Company’s proxy
  14              materials for the annual meeting.
  15                    To add injury to insult, on the heels of your
  16              unilateral decision to overhaul the Company’s leadership,
  17              this Board made another unilateral decision to adopt a
  18              shareholder-unfriendly rights plan a/k/a poison pill. The
  19              effect of this shareholder rights plan was to stifle
  20              shareholder input by impeding the ability of shareholders
  21              to act together in engaging with the Company’s
  22              management and the Discredited Board on critical issues
  23              regarding the leadership of our business.
  24                    It is unclear to us how the continuity of Messrs.
  25              Danziger and Mayer on the Board is a positive for
  26              shareholders. For example, during Mr. Danziger’s tenure
  27              American Apparel’s stock price has fallen from $1.72 in
  28              2011 to today’s $1.15. Similarly, during Mr. Mayer’s

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   1              tenure which started in 2007, American Apparel’s shares
   2              have lost 92% of their value. With such poor track record
   3              it is hard to see why directors Danziger and Mayer should
   4              continue to act as stewards of the shareholders’ capital.
   5              Notably, leading proxy vote advisory firm, Institutional
   6              Shareholder Services (ISS) recommended a “withhold”
   7              vote last year with respect to the reelection of David
   8              Danziger as a result of his service on more than three
   9              public boards while serving as a CEO of an outside
  10              company. Under ISS corporate governance guidelines
  11              there are serious concerns that Mr. Danziger may have too
  12              many board engagements to devote the proper amount of
  13              attention to American Apparel. We share the concern.
  14                    Furthermore, under its agreement with the Standard
  15              General Group, the Company has agreed to form a new
  16              committee of independent directors of the Board, the
  17              Suitability Committee, for the purpose of overseeing the
  18              continuing investigation into alleged misconduct by Dov
  19              Charney. Mr. Danziger, one of the directors who made the
  20              decision to oust Mr. Charney in the first place, will serve
  21              as one of the three members of this committee. We believe
  22              it is a clear disservice to shareholders and the integrity of
  23              the investigative process to place this decision partially in
  24              Mr. Danziger’s hands once again. It is clear that Mr.
  25              Danziger’s decision has already been made and he never
  26              thought it necessary to see the results of a completed
  27              investigation before making it. We firmly believe that any
  28              related    investigation   must    be   overseen   solely   by

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   1              individuals who will have an open-minded, fresh
   2              perspective on the matter and will be able to render an
   3              impartial decision untainted by their prior involvement in
   4              Mr. Charney’s ouster.
   5                    Directors Danziger and Mayer and their fellow
   6              members of the Discredited Board should have informed
   7              shareholders of the investigation into Mr. Charney’s
   8              conduct from its outset. This is critical information that
   9              shareholders had the right to know. Instead, the Board
  10              completely mismanaged the process by concealing the
  11              allegations and investigation from the investment public
  12              and then choosing to act unilaterally to oust Mr. Charney
  13              with no explanation to shareholders until after the fact, all
  14              mid-way through the ongoing investigation.
  15                    It is also noteworthy, that this same Board that has
  16              felt compelled to oust Mr. Charney even if it means
  17              defaulting on close to $10 million in loans, chose to
  18              disregard the Company’s poor operating and financial
  19              results from 2007 through 2012 and reward Mr. Charney
  20              by extending the maturity of the Charney Anti-Dilution
  21              Provision which entitled him to up to approximately
  22              20,416,000 shares of the Company’s common stock as
  23              anti-dilution protection (decision we criticized publicly at
  24              the time, see our letter to the Board available here,
  25              http://biggercapital.squarespace.com/biggercapital-
  26              investment/2013/10/10/american-apparel-
  27              memorandum.html ).
  28

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   1                        In short, Messrs. Danziger and Mayer have made
   2               seemingly arbitrary decisions taking reckless risks with our
   3               capital and jeopardizing our business with little regard for
   4               shareholder interests or the future of our Company. All
   5               seven current directors must be held accountable for this
   6               blatant disregard of shareholder rights and value.
   7               Accordingly, we demand and expect that directors
   8               Danziger and Mayer immediately tender their resignations
   9               from the Board and all of its committees.
  10                        We look forward to a new chapter for American
  11               Apparel under the oversight of a thoroughly new Board
  12               uncompromised           by    the    current     Board’s     disastrous
  13               decisions of the recent and far past.
  14         87.   On November 14, 2014, Bigger Capital delivered a second letter to the
  15 company’s Board, stating, in relevant part, that:
  16                        The Bigger Capital Fund, LP, Bachelier, LLC and
  17               the Bigger Family collectively own more than 2 million
  18               shares     of    American       Apparel,       Inc.    (NYSE:    APP)
  19               (“American        Apparel”      or       the   “Company”),      which
  20               represents an ownership position significantly larger than
  21               the aggregate ownership of all members of the Company’s
  22               Board of Directors (the “Board”), the CEO and the CFO.
  23               We write to you to express our serious and growing
  24               concerns with the Company and provide the basis for our
  25               conviction       that   the    Board       must       be   immediately
  26               reconstituted to replace David [Danziger] and Allan Mayer
  27               with direct representatives of American Apparel’s minority
  28               shareholders.

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   1                      In our letter to you of July 17, 2014, we demanded
   2              the immediate resignations of David [Danziger] and Allan
   3              Mayer from the Board. We did so because we believe that
   4              the lapses in judgment that led to the massive and
   5              continuing destruction of shareholder value following the
   6              abrupt ouster of the Company’s former CEO Dov Charney,
   7              have discredited all the members of the prior Board.
   8              Accordingly, Messrs. Messrs. [Danziger] and Mayer must
   9              be held responsible and should not be allowed to serve as
  10              our representatives on the Board.
  11                      We renew our call for the resignations of Messrs.
  12              [Danziger] and Mayer for a number of reasons. In the first
  13              instance, although we continue to be supportive of the
  14              replacement of five directors with three designees of
  15              Standard General L.P. and its affiliates (“Standard
  16              General”) and two designees mutually agreed upon by
  17              Standard General and the Company, we are becoming
  18              increasingly concerned that the new Board, led by Co-
  19              Chairmen [Danziger] and Mayer, is not as committed to
  20              protect the interests of all shareholders as we had hoped.
  21              For example, this Board never bothered to respond to our
  22              July 17th letter or address our concerns in any form. At a
  23              time when the Company is suffering ever widening losses,
  24              is embroiled in a much publicized investigation of its
  25              former CEO, is still absorbing changes in its senior
  26              executive team, and the stock is taking a beating, the
  27              Board     has     a   heightened    responsibility   to   soothe
  28              shareholder concerns and assure us that all is being done to

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   1              protect our investment. Such disregard of minority
   2              shareholders especially at this critical time is inexcusable.
   3                    We were concerned by Co-Chairman Mayer’s
   4              statement in a CNBC interview that “The irony is the
   5              ally[Standard General] he[Charney] found...turned out to
   6              be our[Mayer and [Danziger]] ally.” We remind our
   7              representatives on the Board that their fiduciary duties are
   8              to serve the best interests of all shareholders. In our view,
   9              this means addressing the concerns of shareholders like us.
  10              It also means that the Board ought to provide full and fair
  11              disclosure of all material events to all shareholders. There
  12              are a lot of questions about the state and the future of the
  13              Company and this Board has not done a good job of
  14              providing answers.
  15                    As things currently stand, American Apparel is
  16              continuing to sustain massive losses and erosion of
  17              shareholder value persists. The Company has massively
  18              underperformed peers on a profitability basis for years. For
  19              example, while American Apparel’s Adjusted EBITDA
  20              margin is at 6%, its most comparable companies have
  21              significantly higher EBITDA margins on a trailing basis as
  22              follows:
  23                                              ***
  24                    We believe American Apparel stock is deeply
  25              undervalued because the Company has a terrific franchise
  26              capable of generating superior EBITDA margins. Our
  27              analysis of the underlying value of American Apparel
  28              leads us to conclude that, absent all the uncertainty and

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   1              extraneous factors that have impacted the stock negatively,
   2              the Company’s shares could be worth more than $2 per
   3              share. The Company’s Board and management need to
   4              take a sober look at the valuation gap and the causes for
   5              value erosion and provide an honest account to themselves
   6              and to all the Company’s shareholders of the actions
   7              within their control that can unlock value. The market’s
   8              negative reaction to the latest earnings release is an
   9              indication that the market has no faith that the Board as led
  10              by Co-Chairmen [Danziger] and Mayer would unlock this
  11              value.
  12                       Perhaps most outrageously the Company spent $5.3
  13              million in legal fees in connection with the ongoing
  14              investigation into alleged misconduct by Dov Charney (the
  15              “Charney Investigation”). It is of great concern that the
  16              Board and its Sustainability Committee have failed to
  17              complete the Charney Investigation to date. The Suitability
  18              Committee was supposed to use its reasonable best efforts
  19              to conclude the investigation no later than 30 days from
  20              July 9, 2014 (subject to extensions that the Suitability
  21              Committee determines in good faith are reasonably
  22              required). Four months later no conclusion has been
  23              communicated and shareholders remain entirely in the dark
  24              regarding the status of the investigation. The uncertainty
  25              surrounding the investigation, the role, if any, of Dov
  26              Charney with the Company going forward, as well as the
  27              composition of the leadership team, generally, have deeply
  28              depressed the price of the Company’s stock. Every day

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   1              that this Board roils in indecision and fails to provide firm
   2              answers is a day that shareholders lose money C both in
   3              the markets and as a result of the exorbitant costs
   4              associated with the investigative process. This situation is
   5              unsustainable and unacceptable.
   6                    The continued Charney Investigation is not only
   7              unduly expensive but is also, in our view, clearly
   8              compromised. We had previously expressed our outrage
   9              that Co-Chairman [Danziger], who directly participated in
  10              the controversial ouster of Dov Charney was named as one
  11              of the three members of the Sustainability Committee
  12              conducting the Charney Investigation. In short, there is
  13              undisputed evidence that [Danziger]’s judgment regarding
  14              this matter has been compromised and that he should not
  15              in any way be involved in what is intended to be an
  16              unbiased and fair investigation. Further, Co-Chairman
  17              Mayer has gone on record publicly stating that he will
  18              resign if Mr. Charney is proven not guilty in the
  19              investigation. American Apparel’s shareholders deserve
  20              fair and quick answers to end the uncertainty and stop the
  21              value destruction.
  22                    It is apparent to us that addressing the issues facing
  23              American Apparel requires that the following actions be
  24              immediately taken by the Board:
  25                      1. The two directors remaining from the prior
  26              discredited Board, Messrs. [Danziger] and Mayer must
  27              immediately tender their resignations. Messrs. [Danziger]
  28              and Mayer, together with their fellow directors at the time,

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   1              directly caused enormous economic and reputational harm
   2              to the Company and must take responsibility.
   3                      2. The Board must promptly invite direct
   4              representatives of the Company’s minority shareholders to
   5              join the Board and fill the resulting vacancies from Messrs.
   6              [Danziger] and Mayer’s resignations.
   7                      3. The Sustainability Committee must act with the
   8              utmost sense of urgency to complete the Charney
   9              Investigation without further delay.
  10                    In summary, we want to stress our conviction that at
  11              this critical time for the Company, it is imperative that the
  12              Board must conduct itself in accordance with the highest
  13              governance standards, representing fairly and vigorously
  14              the interests of all shareholders, providing transparency
  15              and full disclosure of all material events and addressing the
  16              concerns of all its shareholders. Our expectation is that the
  17              Board will immediately engage with us to work
  18              constructively towards a solution along the lines laid out in
  19              this letter. Should the Board disregard us again, we stand
  20              fully prepared to pursue all available courses of action that
  21              we believe necessary to protect shareholder rights and
  22              value, including seeking the election of director candidates
  23              on the Board of American Apparel. We look forward to a
  24              productive dialogue with the Board.
  25 ///
  26 ///
  27 ///
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   1 IX.    ONGOING ACTIONS RELATING TO THE PROXY STATEMENT
   2        AND FIRING OF CHARNEY
   3        88.   As the Company disclosed in its December 19, 2014 Form 8-K:
   4                    On December 15, 2014, the Board of Directors of
   5              American Apparel, Inc. (the “Company”) appointed Paula
   6              Schneider as Chief Executive Officer of the Company,
   7              effective as of January 5, 2015.       Scott Brubaker will
   8              continue to serve as Interim Chief Executive Officer until
   9              Ms. Schneider’s employment commences, after which he
  10              will remain as a consultant to ensure an orderly transition.
  11                    On December 15, 2014, the Board of Directors also
  12              voted to terminate Dov Charney, former President and
  13              Chief Executive Officer, for cause in accordance with the
  14              terms of his employment agreement.             Such decision
  15              followed a determination by a special committee of the
  16              Board of Directors that it was not appropriate for Dov
  17              Charney to be reinstated as Chief Executive Officer or
  18              serve as an officer or employee of the Company. Mr.
  19              Charney’s consulting relationship with the Company,
  20              which began at the time of his suspension as Chief
  21              Executive Officer, was also terminated on such date.
  22        89.   As the Company disclosed in its March 25, 2015 Form 10-K:
  23                    [O]n or about June 23, 2014, Mr. Charney submitted
  24              a demand in arbitration against us in connection with his
  25              suspension,    which   had    been   stayed     pending   the
  26              determination of the Suitability Committee in the Internal
  27              Investigation. As a result of Mr. Charney’s termination for
  28              cause, such stay is no longer in effect and we recently have

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   1               received correspondence indicating that he intends to
   2               reinstate his demand for arbitration. Additionally, Mr.
   3               Charney may seek to file additional lawsuits against us
   4               arising from his termination for cause.
   5                                              ***
   6               SEC Investigation
   7                     On February 5, 2015, the Company learned that the
   8               Securities and Exchange Commission had issued a formal
   9               order of investigation with respect to matters arising from
  10               the Suitability Committee’s review relating to Mr.
  11               Charney. The SEC’s investigation is a non-public, fact-
  12               finding inquiry to determine whether any violations of law
  13               have occurred. The Company intends to cooperate fully
  14               with the SEC in its investigation.
  15                                   NO SAFE HARBOR
  16        90.    The statutory safe harbor provided for forward-looking statements
  17 under certain circumstances does not apply to any of the allegedly false statements
  18 pleaded in this complaint.        The specific statements pleaded herein as being
  19 materially false and misleading were not identified as “forward-looking statements”
  20 when made. To the extent there were any forward-looking statements, there were no
  21 meaningful cautionary statements identifying important factors that could cause
  22 actual results to differ materially from those in the purportedly forward-looking
  23 statements.    Moreover, the above material statements remained “alive” as a
  24 continuing representation seeking proxies for the Annual Meeting at a time when it
  25 is certain the Individual Defendants had views that were irreconcilable with the
  26 statements made.
  27
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   1                                       COUNT I
   2               AGAINST ALL DEFENDANTS FOR VIOLATIONS OF
   3                 SECTION 14(a) AND RULE 14a-9 THEREUNDER
   4         91.   Plaintiffs repeat and reallege each of the allegations set forth in the
   5 foregoing paragraphs, as if fully set forth herein. This Count is brought pursuant to
   6 Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a), and Rule 14a-9 promulgated
   7 thereunder by the SEC, 17 C.F.R. § 240.14a-9.
   8         92.   The Defendants violated Section 14(a) of the Exchange Act and Rule
   9 14a-9 thereunder in that these Defendants solicited proxies from the Record Holders
  10 by means of a Proxy Statement that contained statements which, at the time and in
  11 the light of the circumstances under which they were made, were false and
  12 misleading with respect to material facts, and omitted to state material facts
  13 necessary in order to make the statements therein not false or misleading.
  14         93.   As a result, Plaintiffs, as Record Holders, were denied the opportunity
  15 to make an informed decision in voting on American Apparel’s corporate
  16 governance and were denied fair corporate suffrage as they otherwise would have
  17 had, and otherwise might have elected different directors, had the information of the
  18 Individual Defendants’ true planned course of conduct been disclosed.
  19         94.   As a direct and proximate result of Defendants’ wrongful conduct,
  20 Plaintiffs, as Record Holders, have suffered been denied fair corporate suffrage
  21 through the use of a materially deceptive Proxy Statement in violation of Section
  22 14(a) of the Exchange Act and Rule 14a-9 thereunder.
  23                                       COUNT II
  24                   AGAINST THE INDIVIDUAL DEFENDANTS
  25                       FOR VIOLATIONS OF SECTION 20(a)
  26         95.   Plaintiffs repeat and reallege each of the allegations set forth in the
  27 foregoing paragraphs, as if fully set forth herein. This Count is brought pursuant to
  28 Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

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   1 positions, agency, and their ownership and contractual rights, participation in and/or
   2 awareness of the Company’s operations and/or intimate knowledge of the
   3 misleading financial information filed by the Company with the SEC and
   4 disseminated to the investing public, the Individual Defendants had the power to
   5 influence and control, and did influence and control, directly or indirectly, the
   6 decision-making of the Company, including the content and dissemination of the
   7 various statements that Plaintiffs contend are false and misleading.
   8         96.   The Individual Defendants, as members of the Board, are presumed to
   9 have had the power to control or influence the filing and dissemination of the Proxy
  10 Statement, and exercised the same.
  11         97.   As set forth above, the Individual Defendants each violated Section
  12 14(a) by their acts and omissions as alleged in this Complaint.
  13         98.   By virtue of their positions as controlling persons, the Individual
  14 Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and
  15 proximate result of the Individual Defendants’ wrongful conduct, Plaintiffs, as
  16 Record Holders, were denied fair corporate suffrage through the use of a materially
  17 deceptive Proxy Statement in violation of Section 14(a) of the Exchange Act.
  18                                       COUNT III
  19                    AGAINST THE INDIVIDUAL DEFENDANTS
  20            FOR BREACH OF THE DUTY OF DISCLOSURE/CANDOR
  21         99.   Plaintiffs repeat and reallege each of the allegations set forth in the
  22 foregoing paragraphs, as if fully set forth herein.
  23         100. The Individual Defendants owed and owe Plaintiffs and the Record
  24 Holders fiduciary obligations. By reason of their fiduciary relationships, Individual
  25 Defendants owed and owe Plaintiffs and the Record Holders the highest obligation
  26 of loyalty and candor.
  27         101. The Individual Defendants each knowingly and/or recklessly approved
  28 the issuance of materially false statements that misrepresented and failed to disclose

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   1 material information concerning the Company. These actions could not have been a
   2 good faith exercise of prudent business judgment to protect and promote the
   3 Company’s corporate interests.
   4          102. The Individual Defendants have acted disloyally to Plaintiffs and the
   5 Record Holders, thereby, violating and breaching their fiduciary duties of oversight,
   6 good faith, honesty, and loyalty. As a direct and proximate result of the Individual
   7 Defendants’ failure to perform their fiduciary obligations, Plaintiffs and the Record
   8 Holders were injured. As a result of the misconduct alleged herein, these Defendants
   9 are liable to Plaintiffs as Record Holders.
  10          103. Plaintiffs have no adequate remedy at law.
  11                                       COUNT IV
  12                            AGAINST ALL DEFENDANTS
  13                     FOR AIDING AND ABETTING BREACHES
  14                    OF THE DUTY OF DISCLOSURE/CANDOR
  15          104. Plaintiffs repeat and reallege each of the allegations set forth in the
  16 foregoing paragraphs, as if fully set forth herein.
  17          105. The Individual Defendants owed and owe Plaintiffs and the Record
  18 Holders fiduciary obligations. By reason of their fiduciary relationships, Individual
  19 Defendants owed and owe Plaintiffs and the Record Holders the highest obligation
  20 of loyalty and candor.
  21          106. Defendants abused the control shareholders entrusted to them by virtue
  22 of their high level positions in the Company and were aided and abetted by each
  23 other.
  24          107. By reason of the foregoing conduct, the Defendants have injured
  25 Plaintiffs and the Record Holders.
  26          108. Plaintiffs have no adequate remedy at law.
  27 ///
  28 ///

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   1        WHEREFORE, Plaintiffs pray for relief and judgment, as follows:
   2        (A)   Invalidating the election at the Annual Meeting resulting from the
   3              Proxy Statement;
   4        (B)   Compelling Defendants to correct and redisseminate a true and accurate
   5              proxy statement and following the procedures used to disseminate the
   6              Proxy Statement;
   7        (C)   Reconducting the election of directors previously held on June 18,
   8              2014, including providing an opportunity for any opposing slates of
   9              directors to seek election;
  10        (D)   Removing any and all sitting Individual Defendants from the Board;
  11        (E)   Enjoining the Company’s 2015 annual meeting and modifying the
  12              Support Agreement until such time as the Record Holders may revote
  13              their proxies on an informed basis;
  14        (F)   Awarding Plaintiffs their reasonable costs and expenses incurred in this
  15              action, including counsel fees and expert fees; and
  16        (G)   Such other and further relief as this Court may deem just and proper.
  17
                                                Patrice L. Bishop
  18                                            STULL, STULL & BRODY
  19 April 21, 2015                              s/ Patrice L. Bishop
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